        Case 1:04-cv-00138-RMC Document 7 Filed 03/30/04 Page 1 of 17



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
NATIONAL AIR TRAFFIC CONTROLLERS                    )
ASSOCIATION, AFL-CIO,                               )
         and                                        )
PROFESSIONAL AIRWAYS SYSTEMS                        )
SPECIALISTS, AFL-CIO,                               )
                       Plaintiffs                   )
                                                    )
             v.                                     ) No. 1:04CV00138 (RMC)
                                                    )
FEDERAL SERVICE IMPASSES PANEL                      )
         and                                        )
FEDERAL LABOR RELATIONS                             )
AUTHORITY,                                          )
                      Defendants                    )
                                                    )

          DEFENDANTS’ MOTION TO DISMISS COMPLAINT,
        OR, IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT1
      Pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6), the Federal Service Impasses
Panel and the Federal Labor Relations Authority hereby move this Court to dismiss
the complaint for lack of subject matter jurisdiction, and for failure to state a claim
upon which relief can be granted. Alternatively, pursuant to Fed. R. Civ. P. 56, the
defendants respectfully move the Court to enter summary judgment for the defendants
and against the plaintiffs. As grounds for this alternative motion, defendants state that
there are not material facts in dispute in this action and that defendants are entitled to
judgment as a matter of law.
      In support of this Motion, defendants refer the Court to the attached
Memorandum in Support of Motion to Dismiss Complaint, or, in the Alternative, for


1
  On March 16, 2004, the unions filed a Motion for Summary Judgment (MSJ). This
Motion to Dismiss constitutes the defendants’ response to the unions’ summary
judgment motion.
       Case 1:04-cv-00138-RMC Document 7 Filed 03/30/04 Page 2 of 17



Summary Judgment, which is submitted with attached exhibits, and a Statement of
Material Facts Not In Dispute.
      Respectfully submitted.


                                    ____________________________
                                    DAVID M. SMITH
                                    Solicitor

                                    ____________________________
                                    WILLIAM R. TOBEY
                                    Deputy Solicitor

                                    ____________________________
                                    JAMES F. BLANDFORD
                                    Attorney
                                    Federal Labor Relations Authority
                                    1400 K Street, NW.
                                    Washington, DC 20424-0001
                                    (202) 218-7999; FAX (202) 343-1007
March 2004




                                      2
        Case 1:04-cv-00138-RMC Document 7 Filed 03/30/04 Page 3 of 17



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
NATIONAL AIR TRAFFIC CONTROLLERS                  )
ASSOCIATION, AFL-CIO,                             )
         and                                      )
PROFESSIONAL AIRWAYS SYSTEMS                      )
SPECIALISTS, AFL-CIO,                             )
                       Plaintiffs                 )
                                                  )
             v.                                   ) No. 1:04CV00138 (RMC)
                                                  )
FEDERAL SERVICE IMPASSES PANEL                    )
         and                                      )
FEDERAL LABOR RELATIONS                           )
AUTHORITY,                                        )
                      Defendants                  )
                                                  )
                   MEMORANDUM IN SUPPORT OF
             DEFENDANTS’ MOTION TO DISMISS COMPLAINT
                                I. INTRODUCTION
      The National Air Traffic Controllers Association, AFL-CIO (NATCA) and the
Professional Airways Systems Specialists, AFL-CIO (PASS) (collectively “the
unions”) seek to invoke the jurisdiction of this Court in a suit against the Federal
Service Impasses Panel (Panel) and the Federal Labor Relations Authority
(Authority). As shown below, the Court should dismiss this case for lack of subject
matter jurisdiction and for failure to state a claim upon which relief can be granted.
Alternatively, the Court should grant summary judgment in favor of the defendants.
      The Authority is the federal agency responsible for administering the Federal
Service Labor-Management Relations Statute, 5 U.S.C. §§ 7101-7135 (2000)
(Statute).   See 5 U.S.C. §§ 7104 and 7105.          Under the Statute, the specific
responsibilities of the Authority include adjudicating unfair labor practice complaints,
negotiability disputes, bargaining unit and representational election matters, and
        Case 1:04-cv-00138-RMC Document 7 Filed 03/30/04 Page 4 of 17



resolving exceptions to arbitration awards. See 5 U.S.C. § 7105(a)(2). More
generally, the Authority is charged with “provid[ing] leadership in establishing
policies and guidance relating to matters under the [Statute].” 5 U.S.C. § 7105(a)(1).
      The Panel is “an entity within the Authority, the function of which is to provide
assistance in resolving negotiation impasses between agencies and exclusive
representatives.” 5 U.S.C. § 7119(c)(1); see also Council of Prison Locals v. Brewer,
735 F.2d 1497, 1499 (D.C. Cir. 1984) (Brewer). The administrative actions at issue
here are decisions of the Panel declining to assert jurisdiction over five related cases
involving the unions and the Federal Aviation Administration (FAA). FAA and
NATCA, No. 03 FSIP 144 (Jan. 9, 2004) (Exhibit (Exh.) 1); FAA and PASS, Nos. 03
FSIP 149, 150, 151, and 157 (Jan. 9, 2004) (Exh. 2).
      It is well established that decisions of the Panel are not subject to judicial
review in either the district or the circuit courts. Brewer, 735 F.2d at 1498.
Furthermore, the narrow exception to this rule under Leedom v. Kyne, 358 U.S. 184
(1958), is not applicable here. Accordingly, the Court should grant the motion to
dismiss, or in the alternative, grant summary judgment for the agencies.
                          II. STATEMENT OF FACTS
A.    The Panel
      The Panel was originally created by Executive Order 11491, 3 C.F.R. 861, 864
(1966-70 Compilation) and was designated as an entity within the Federal Labor
Relations Council (FLRC). The FLRC was also created by the Executive Order as the
central policy making and adjudicative agency for federal sector labor-management
relations. The Panel was composed of at least three members appointed by the


                                           2
          Case 1:04-cv-00138-RMC Document 7 Filed 03/30/04 Page 5 of 17



President, who served on a part-time basis. Under the Executive Order, the Panel had
the authority to recommend procedures for the resolution of collective bargaining
impasses or to settle the impasse “by appropriate action.” Exec. Order 11491, §§ 5
and 17.
      The Panel was reconstituted by § 7119 of the Statute essentially as it had
existed under the Executive Order, as an “entity within” the Authority. Under the
Statute, the Panel is composed of a Chairman and at least six other members, all of
whom are appointed by the President, “solely on the basis of fitness to perform duties
and functions involved, from among individuals who are familiar with Government
operations and knowledgeable in labor-management relations.”                  5 U.S.C.
§ 7119(c)(2). The Panel’s function continued to be to “provide assistance in resolving
negotiation impasses between agencies and exclusive representatives” of agency
employees. 5 U.S.C. § 7119(c)(1). Any party engaged in collective bargaining under
the Statute may request the Panel’s assistance in resolving an impasse. 5 U.S.C.
§ 7119(b). Upon the submission of a request for Panel Assistance, the Panel “shall
promptly investigate any impasse presented to it” and assist the parties in resolving
the impasse through whatever means the Panel “may consider appropriate.” 5 U.S.C.
§ 7119(c)(5)(A). If the parties are unable to settle the dispute voluntarily, the Panel
then “may . . . take whatever action is necessary and not inconsistent with [the Statute]
to resolve the impasse.” 5 U.S.C. § 7119(c)(5)(B).
      The Panel has published regulations implementing § 7119 of the Statute.
5 C.F.R. §§ 2470.1 -2473.1. As relevant here, the regulations provide that after
having conducted an investigation and having given due consideration, the Panel shall


                                           3
        Case 1:04-cv-00138-RMC Document 7 Filed 03/30/04 Page 6 of 17



either: “[d]ecline to assert jurisdiction in the event it finds that no impasse exists or
that there is other good cause for not asserting jurisdiction. . ..;” or assert jurisdiction
and take steps to resolve the impasse. 5 C.F.R. § 2471.6(a).
B.     Factual Background2
       This case arose out of contact negotiations between the FAA and two of the
unions representing units of the FAA’s employees. In July 2003, the unions filed
requests for Panel assistance in resolving bargaining impasses. Specifically, NATCA
filed 1 request, 03 FSIP 144, growing out of negotiations between the FFA and 11
bargaining units totaling approximately 1,800 employees. PASS filed 4 different
requests (03 FSIP 149, 150, 151, and 157) arising out of negotiations involving 4
bargaining units involving approximately 4,000 employees. The Panel consolidated
all of PASS’s cases. In response, the FAA filed two substantially identical Statements
of Positions (Exhs. 3 and 4), contending that the Air Traffic Management System
Performance Act of 1966 divested the Panel of jurisdiction over collective bargaining
between the unions and the FAA.         Thereafter the Panel solicited, and the parties
provided, legal arguments on the issue of the Panel’s jurisdiction.
C.     The Panel’s Decisions
       On January 9, 2004, the Panel issued its decisions. In each case, the Panel
concluded that “it is unclear whether the Panel has the authority to resolve the parties’
impasse[s].” Exh. 1 at 1; Exh. 2 at 1. The Panel stated that the FAA had “raised



2
  The background facts are summarized here. The facts are set out in more detail in
the Statement of Material Facts as to Which There Is No Genuine Dispute filed with
the union’s Motion for Summary Judgment.
                                             4
        Case 1:04-cv-00138-RMC Document 7 Filed 03/30/04 Page 7 of 17



arguable questions” concerning the Panel’s authority to resolve the disputes at issue.
Exh. 1 at 4; Exh. 2 at 4. Further, according to the Panel, these “questions must be
addressed in an appropriate forum before the Panel commits its resources to assist the
parties in resolving the merits of their impasses.” Id. The Panel noted that it was not
endorsing, either explicitly or implicitly, the FAA’s statutory interpretations. Exh. 1
at 4 n.4; Exh. 2 at 4 n.4.
                                 III. ARGUMENT
A.    The Union’s Complaint Should Be Dismissed For Lack of Subject
      Matter Jurisdiction
      1.     Decisions of the Panel Are Not Subject to District Court
             Jurisdiction
      In Brewer, after examining the relevant statutory provisions and legislative
history, the D.C. Circuit held that Congress precluded direct judicial review of Panel
orders, except in extraordinary circumstances. 735 F.2d at 1498. In so holding, the
court held that the specific statutory scheme in § 7123(a) for judicial review renders
inapplicable general jurisdictional grants that might otherwise provide original
jurisdiction over Panel decisions in federal district courts. Id. at 1500. Accordingly,
this Court is without jurisdiction to review final determinations of the Panel, unless
the unions can show that an exception to the rule precluding review is applicable. As
will be demonstrated below, no such exception applies.
      2.     The Union Erroneously Relies on the Narrow Leedom V. Kyne
             Exception to Nonreviewability of Panel Decisions.
      The unions concede (MSJ 11-12) that under Brewer, direct review of Panel
determinations is precluded absent extraordinary circumstances, but nonetheless assert
that this Court has jurisdiction under the narrow exception found in Leedom v. Kyne,

                                          5
        Case 1:04-cv-00138-RMC Document 7 Filed 03/30/04 Page 8 of 17



358 U.S. 184 (1958) (Leedom). As discussed below, Leedom does not provide a basis
for the Court’s jurisdiction in this case.
             a.     The Leedom Exception Is Extremely Narrow
      Under Leedom, an otherwise nonreviewable agency action may be reviewable
where an agency has “contravened a clear and specific statutory mandate.” United
Food and Commercial Workers, Local 400 v. NLRB, 694 F.2d 276, 278 (D.C. Cir.
1982). The D.C. Circuit has stressed that the Leedom exception is “intended to be of
extremely limited scope.” Griffith v. FLRA, 842 F.2d 487, 493 (D.C. Cir. 1988)
(internal quotes omitted) (Griffith). Noting that the limitations on Leedom jurisdiction
are “nearly insurmountable,” the D.C. Circuit has held that Leedom jurisdiction is not
available to review agency decisions for errors of fact or law. United States Dep’t of
Justice, Fed. Bureau of Prisons v. FLRA, 981 F.2d 1339, 1343 (D.C. Cir. 1993); see
also Boire v. Greyhound, 376 U.S. 473, 481 (1964) (Leedom should “not . . . be
extended to permit plenary district court review of [National Labor Relations] Board
orders . . . whenever it can be said that an erroneous assessment of the particular
facts . . . has led it to a conclusion that does not comport with law.”). As further
explained by the D.C. Circuit, “garden variety errors of law or fact are not enough [to
confer Leedom jurisdiction].” Griffith, 842 F.2d at 493.
      Analysis of the Supreme Court’s Leedom decision demonstrates the rigorous
character of the exception’s requirements. In Leedom, the National Labor Relations
Board (NLRB) had determined that employees, who were held not to be professional
employees within the meaning of the National Labor Relations Act (NLRA), 29
U.S.C. § 152(12), should be included in a bargaining unit of acknowledged


                                             6
        Case 1:04-cv-00138-RMC Document 7 Filed 03/30/04 Page 9 of 17



professional employees. Leedom, 358 U.S. at 185-86. This determination by the
Board directly contravened the NLRA’s explicit requirement that “‘the Board shall
not (1) decide that any unit is appropriate . . . if such unit includes both professional
employees and employees who are not professional employees unless a majority of
such professional employees vote for inclusion in such unit.’” Id. at 188-89 (quoting
§ 9(b) of the NLRA, 29 U.S.C. § 159(b)). Because of the NLRB’s patent violation of
the NLRA, the Court affirmed the district court’s assertion of jurisdiction.
      As will be discussed below, the Panel here, unlike the NLRB in Leedom, did
not contravene a clear and specific statutory mandate.
             b.     Leedom Jurisdiction Is Not Available in this Case
      The unions argue (MSJ 14) that the Panel exceeded its authority and violated
a mandate of the Statute by “refusing to assist [the unions] in resolving their impasses
with the FAA,” and therefore this Court has jurisdiction under Leedom. According
to the unions, the Panel’s actions contravene § 7119(c) of the Statute. The unions’
arguments are without merit because the Panel contravened no clear statutory
mandate.
      Section 7119(c)(5)(A) of the Statute first requires that the Panel promptly
investigate the impasse presented to it. The unions do not deny that the Panel
investigated the impasse. As a matter of fact, it was during the course of the Panel’s
investigation that the FAA asserted that the Panel was without jurisdiction to resolve
the bargaining dispute. See Exh. 1 at 1; Exh. 2 at 1. Further, the Statute requires that
the Panel assist the parties in seeking a voluntary resolution to the impasse, “through
whatever methods and procedures . . . [the Panel] may consider appropriate.”


                                           7
        Case 1:04-cv-00138-RMC Document 7 Filed 03/30/04 Page 10 of 17



5 U.S.C. § 7119(c)(5)(A)(ii). As this language reflects, the Statute clearly provides
the Panel with wide discretion in determining the nature and extent of the assistance
it is to provide under this section.
      Here, once the FAA unconditionally asserted that the Panel had no authority to
“intercede or otherwise take action” in the bargaining dispute (see Agency Statement
of Position on Jurisdiction, 03 FSIP 144, Exh. 3 at 8; Agency Statement of Position
on Jurisdiction, 03 FSIP 149, 150,151, and 157, Exh. 4 at 7), the Panel made no
further attempts to procure a voluntary settlement of the underlying bargaining
impasse. Rather, in an attempt to resolve the jurisdictional issue, the Panel requested
legal arguments from all parties. Given the unconditional nature of the FAA’s denial
of the Panel’s authority, the Panel reasonably refrained from expending resources in
further attempts to resolve the dispute through voluntary efforts. It is axiomatic that
the law does not require futile or useless actions. Wayne v. United States, 318 F.2d
205, 213 (D. C. Cir. 1963); see also United States v. Md. & Va. Milk Producers
Ass’n., 151 F.Supp. 438, 440 (D. D.C. 1957). Nothing in the Panel’s reasonable
exercise of its discretion constituted a clear and patent violation of the requirements
of § 7119(c)(5)(A) of the Statute.
      Where, as here, efforts to settle voluntarily the bargaining impasse are
unavailing, § 7119(c)(5)(B) of the Statute provides that the Panel “may . . . take
whatever action is necessary and not inconsistent with this chapter to resolve the
impasse.” 5 U.S.C.§ 7119(c)(5)(B) (emphasis added). The Statute does not mandate
any particular action on the Panel’s part. The Panel’s regulations clarify the Panel’s
options. Section 2471.6(a) of the Panel’s regulations provide that among the Panel’s


                                          8
        Case 1:04-cv-00138-RMC Document 7 Filed 03/30/04 Page 11 of 17



options is the authority to “[d]ecline to assert jurisdiction in the event it finds that no
impasse exists or that there is other good cause for not asserting jurisdiction . . . .;”
or “[a]ssert jurisdiction” and take steps to resolve the impasse. 5 C.F.R. § 2471.6(a)
(emphasis added).
       The Panel’s discretion to decline jurisdiction where its legal authority to resolve
an impasse is questioned has been recognized by the both the courts and the Authority.
In Am. Fed. of Gov’t Employees v. FLRA, 778 F.2d 850, 854 (D.C. Cir. 1985)
(AFGE), the court held that the Panel could not resolve questions regarding a party’s
obligation to bargain and noted the Panel’s practice of declining to assert jurisdiction
when “threshold questions exist concerning a party’s obligation to bargain over a
proposal.” In addition, the Authority has furthered clarified the Panel’s role in
disputes over bargaining obligations. In Commander Carswell Air Force Base, Tex.,
31 F.L.R.A. 620, 624-25 (1988) (Carswell AFB), the Authority held that although the
Panel cannot resolve legitimate duty to bargain questions, the Panel can assert
jurisdiction where a bargaining proposal before it was substantially identical to one
found by the Authority to be within the obligation to bargain. Significantly, the
Authority noted that the approach adopted in Carswell AFB, “preserves the Panel’s
discretion as to whether or not to assert jurisdiction.” Id. at 625.
       Although this case does not concern a question concerning a party’s obligation
to bargain, the principles of AFGE and Carswell AFB are nonetheless instructive. All
the cases involve, in a broader sense, questions concerning the Panel’s legal authority
to act under the Statute. As with obligation to bargain questions, it is the Authority,
not the Panel, who is charged with providing guidance over issues arising under the


                                            9
        Case 1:04-cv-00138-RMC Document 7 Filed 03/30/04 Page 12 of 17



Statute. See 5 U.S.C. § 7105(a)(1). Accordingly, the Panel reasonably exercised its
discretion not to assert jurisdiction.
      In sum, the unions present no basis for Leedom jurisdiction. The Panel acted
within its statutory authority when it declined to assert jurisdiction in the face of
colorable challenges to its power to act. Accordingly, the Court should grant the
Authority’s motion to dismiss for lack of subject matter jurisdiction, or, in the
alternative, should grant the Authority’s motion for summary judgment.
B.    The Union Has Failed To State a Claim Upon Which Relief Can Be
      Granted
      If a defendant can show that the plaintiff can prove no set of facts that would
support its claim, then the complaint should be dismissed for failure to state a claim
upon which relief can be granted under Fed. R. Civ. P. 12(b)(6). See Conley v.
Gibson, 355 U.S. 41, 45-46 (1957). Much of what has been said in Part A. of this
argument, concerning the Court’s lack of subject matter jurisdiction, applies here as
well. Even taking the allegations in the union’s complaint as true, the union cannot
establish any facts sufficient to overcome the well-established prohibition on judicial
review of Panel decisions.
                                 IV. CONCLUSION
      For the foregoing reasons, this complaint should be dismissed because the Court
lacks subject matter jurisdiction and because the complaint fails to state a claim upon
which relief can be granted. In the alternative, this Court should grant summary




                                          10
      Case 1:04-cv-00138-RMC Document 7 Filed 03/30/04 Page 13 of 17



judgment in favor of the defendants and deny the unions’ motion for summary
judgment.
     Respectfully submitted.


                                  ____________________________
                                  DAVID M. SMITH
                                  Solicitor

                                  ____________________________
                                  WILLIAM R. TOBEY
                                  Deputy Solicitor

                                  ____________________________
                                  JAMES F. BLANDFORD
                                  Attorney
                                  Federal Labor Relations Authority
                                  1400 K Street, NW.
                                  Washington, DC 20424-0001
                                  (202) 218-7999; FAX (202) 343-1007
March 2004




                                    11
       Case 1:04-cv-00138-RMC Document 7 Filed 03/30/04 Page 14 of 17



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
NATIONAL AIR TRAFFIC CONTROLLERS                   )
ASSOCIATION, AFL-CIO.,                             )
         and                                       )
PROFESSIONAL AIRWAYS SYSTEMS                       )
SPECIALISTS, AFL-CIO,                              )
                       Plaintiffs                  )
                                                   )
             v.                                    ) No. 1:04CV00138 (RMC)
                                                   )
FEDERAL SERVICE IMPASSES PANEL                     )
         and                                       )
FEDERAL LABOR RELATIONS                            )
AUTHORITY,                                         )
                      Defendants                   )
                                                   )

           DEFENDANTS’ STATEMENT OF MATERIAL FACTS
                        NOT IN DISPUTE
      Defendants Federal Service Impasses Panel (Panel) and Federal Labor Relations
Authority (Authority) hereby submits its Statement of Material Facts Not In Dispute.
      1. The National Air Traffic Controllers Association, AFL-CIO (NATCA) and
the Professional Airways Systems Specialists, AFL-CIO (PASS) (collectively “the
unions”) are labor organizations within the meaning of § 7103(a)(4) of the Federal
Service Labor-Management Relations Statute, 5 U.S.C. §§ 7101-7135 (2000) (Statute)
and were at all times material to this case exclusive bargaining representatives for
units of employees of the Federal Aviation Administration (FAA).
      2. The Authority is an independent agency of the Executive Branch of the
United States Government established pursuant to the Statute. 5 U.S.C. §§ 7104,
7105. The Panel is “an entity within the Authority, the function of which is to provide
assistance in resolving negotiation impasses between agencies and exclusive
representatives.” 5 U.S.C. § 7119.
        Case 1:04-cv-00138-RMC Document 7 Filed 03/30/04 Page 15 of 17



      3. In July 2003, pursuant to § 7119(b) of the Statute, the unions filed requests
for Panel assistance in resolving bargaining impasses. Specifically, NATCA filed 1
request, 03 FSIP 144, growing out of negotiations between the FFA and 11 bargaining
units totaling approximately 1,800 employees. PASS filed 4 different requests
(03 FSIP 149, 150, 151, and 157) arising out of negotiations involving 4 bargaining
units involving approximately 4,000 employees. The Authority consolidated all of
PASS’s cases.
      4. In response to the unions’ requests for Panel assistance, the FAA filed two
substantially identical Statements of Positions, contending that the Air Traffic
Management System Performance Act of 1966 divested the Panel of jurisdiction over
collective bargaining between the unions and the FAA.           Thereafter the Panel
solicited, and the parties provided, legal arguments on the issue of the Panel’s
jurisdiction.
      5.    On January 9, 2004 the Panel issued decisions in the 5 pending cases,
declining to the assert jurisdiction over the matters. The Panel concluded that “it is
unclear whether the Panel has the authority to resolve the parties’ impasse[s],” and
that these “questions must be addressed in an appropriate forum before the Panel
commits its resources to assist the parties in resolving the merits of their impasses.”
FAA and NATCA, No. 03 FSIP 144 (Jan. 9, 2004); FAA and PASS, Nos. 03 FSIP 149,
150,151, and 157 (Jan. 9, 2004).




                                          2
      Case 1:04-cv-00138-RMC Document 7 Filed 03/30/04 Page 16 of 17



     Respectfully submitted.


                                  ____________________________
                                  DAVID M. SMITH
                                  Solicitor

                                  ____________________________
                                  WILLIAM R. TOBEY
                                  Deputy Solicitor

                                  ____________________________
                                  JAMES F. BLANDFORD
                                  Attorney
                                  Federal Labor Relations Authority
                                  1400 K Street, NW.
                                  Washington, DC 20424-0001
                                  (202) 218-7999; FAX (202) 343-1007
March 2004




                                    3
       Case 1:04-cv-00138-RMC Document 7 Filed 03/30/04 Page 17 of 17



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
NATIONAL AIR TRAFFIC CONTROLLERS                )
ASSOCIATION, AFL-CIO,                           )
         and                                    )
PROFESSIONAL AIRWAYS SYSTEMS                    )
SPECIALISTS, AFL-CIO,                           )
                       Plaintiffs               )
                                                )
            v.                                  ) No. 1:04CV00138 (RMC)
                                                )
FEDERAL SERVICE IMPASSES PANEL                  )
         and                                    )
FEDERAL LABOR RELATIONS                         )
AUTHORITY,                                      )
                      Defendants                )
                                                )

                        CERTIFICATE OF SERVICE
      I certify that a copy of the Defendants’ Motion To Dismiss Complaint, Or, In
The Alternative, For Summary Judgment has been served this day, by mail, upon the
following:

                         William W. Osborne, Jr.
                         Osborne Law Offices, P.C.
                         4301 Connecticut Avenue, N.W.
                         Suite 108
                         Washington, D.C. 20008



                                     _______________________
                                     James F. Blandford
                                     Attorney, FLRA & FSIP


March 30, 2004
